Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 1 of 12 PAGEID #: 312




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 M.A.,                                           :
                                                 :
                 Plaintiff,                      :
                                                 :        Civil Action No. 2:19-cv-849
 v.                                              :
                                                 :        Judge Algenon L. Marbley
 WYNDHAM HOTELS AND RESORTS,                     :
 INC., et al.,                                   :        Chief Magistrate Judge
                                                 :        Elizabeth Preston Deavers
                 Defendants.                     :
                                                 :

                 DEFENDANT WYNDHAM HOTELS & RESORTS, INC.’S
                            MOTION TO DISMISS

         Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Wyndham

Hotels & Resorts, Inc., incorrectly named as Wyndham Hotels and Resorts, Inc., moves the Court

for an Order dismissing the claim asserted against it in this action because Plaintiff has failed to

state a claim upon which relief can be granted. A Memorandum in support is attached.



Dated: May 20, 2019                           Respectfully submitted,


                                              /s/ Michael R. Reed
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                                                 1
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 2 of 12 PAGEID #: 313




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                                       2
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 3 of 12 PAGEID #: 314




                                MEMORANDUM IN SUPPORT

I.      INTRODUCTION

        Citing the United States Court of Appeals for the Sixth Circuit, a district court recently

confirmed that liability under the Trafficking Victims Protection Reauthorization Act (“TVPRA”)

requires more than an association with an entity alleged to have been involved in trafficking.

        Because guilt, or in this case liability, cannot be established by association alone,
        Plaintiff must allege specific conduct that furthered the sex trafficking venture.
        Such conduct must have been undertaken with the knowledge, or in reckless
        disregard of the fact, that it was furthering the alleged sex trafficking venture. In
        other words, some participation in the sex trafficking act itself must be shown.

Noble v. Weinstein, 335 F. Supp. 3d 504, 524 (S.D.N.Y. 2018) (citing United States v. Afyare, 632

F. App’x 272, 285 (6th Cir. 2016)). As the Sixth Circuit made clear in Afyare, a lawful relationship

unrelated to sex trafficking (e.g., a franchisor-franchisee relationship) cannot give rise to “venture”

liability against a party that has not actually participated in the sex trafficking itself. See Afyare,

632 Fed. App’x at 286.

        Plaintiff has not met and cannot meet this pleading standard as to Defendant Wyndham

Hotels & Resorts, Inc. (“WHRI”), the ultimate parent company to the franchisor of three Days

Inn® guest lodging facilities located in Columbus, Ohio and the surrounding area. Neither WHRI

nor the franchisor owns, operates, manages, or is present at the facilities in question. Rather, those

facilities are independently owned and operated by Defendants S&S Airport Motel, LLC (“S&S”),

First Hotel Management, LLC (“FHM”), and KRRISH Lodging, LLC (“KRRISH”).                          S&S

independently owns and operates the facility located at 750 Stelzer Road, Columbus, Ohio 43219,

FHM independently owns and operates the facility located at 2100 Brice Road, Reynoldsburg,

Ohio 43069, and KRRISH independently owns and operates the facility located at 1849 Stringtown

Road, Grove City, Ohio 43123. Plaintiff does not allege any “venture” between these Days Inns®



                                                  1
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 4 of 12 PAGEID #: 315




guest lodging facilities beyond a common franchisor, let alone a “venture” with the other brands

or facilities at issue.

        While WHRI condemns all forms of human trafficking and sexual exploitation, Plaintiff

does not allege WHRI’s participation in the alleged trafficking described in her Complaint, or any

conduct towards, interaction with, or even knowledge of Plaintiff or her alleged trafficker. Plaintiff

does not (and cannot in good faith) allege that WHRI knowingly benefited from or participated in

Plaintiff’s sex trafficking, and Plaintiff’s sole claim under the TVPRA must fail.

II.     STATEMENT OF THE ALLEGATIONS AGAINST WHRI

        Plaintiff’s Complaint focuses on human trafficking and the hospitality industry, generally,

and includes just a few, conclusory allegations relating to the S&S, FHM, and KRRSH guest

lodging facilities. For example, Plaintiff alleges that, between 2014 and 2015, her trafficker would

rent rooms with cash at those and other Columbus-area hotels, that unidentified staff “would have

or should have” observed indicia of trafficking, and that franchisors are generally aware that

human trafficking occurs at hotels. See Dkt. 1, ¶¶ 2-3, 52, 54, 61-62. The Complaint then attempts

to characterize WHRI and S&S, FHM, and KRRSH as “alter egos,” “single and joint employers,”

and agents (Dkt. 1, ¶¶ 66-71) based solely on allegations that revert back to the franchise

relationship between WHRI’s affiliate and S&S, FHM, and KRRSH. The Complaint, however,

does not include any allegations relating to Plaintiff or her trafficking specifically directed to

WHRI. Indeed, while the Complaint describes disturbing conduct, it does not allege WHRI’s

knowing participation in Plaintiff’s alleged trafficking.

III.    STANDARD OF REVIEW

        In considering a motion to dismiss under Rule 12(b)(6), courts require a plaintiff to allege

facts that “state a claim for relief that is plausible on its face” and, if accepted as true, are sufficient


                                                     2
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 5 of 12 PAGEID #: 316




to “raise a right to relief above the speculative level.” Crawford v. Columbus State Cmty. Coll.,

196 F. Supp. 3d 766, 772 (S.D. Ohio 2016) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555, 570 (2007)). A complaint cannot survive a motion to dismiss unless it contains “direct or

inferential allegations respecting all material elements to sustain a recovery under some viable

legal theory.” Bishop v. Lucent Techs., Inc., 520 F.3d 516, 519 (6th Cir. 2008) (quoting Mezibov

v. Allen, 411 F.3d 712, 716 (6th Cir. 2005)). Mere legal conclusions, unsupported by factual

allegations, are insufficient. Hogan v. Cleveland Ave Rest. Inc., No. 2:15-CV-2883, 2018 WL

1475398, at *2 (S.D. Ohio Mar. 26, 2018) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

Rather, “[l]egal conclusions ‘must be supported by well-pleaded factual allegations . . . [that]

plausibly give rise to an entitlement of relief.’” Thomas v. Progressive Cas. Ins. Co., No. 3:15-

CV-456, 2016 WL 3766406, at *2 (S.D. Ohio July 11, 2016) (quoting Ashcroft, 556 U.S. at 679).

Allegations made against groups of defendants are insufficient to withstand a challenge under Rule

12(b)(6) because such allegations deprive each individual defendant of fair notice of what it is

alleged to have done. See, e.g., Gamrat v. Allard, 320 F. Supp. 3d 927, 942 (W.D. Mich. 2018);

Mhoon v. Metro. Gov't of Nashville & Davidson County, Tennessee, No. 3:16-CV-01751, 2016

WL 6250379, at *3 (M.D. Tenn. Oct. 26, 2016).

IV.     ARGUMENT

        The Complaint fails to state a claim under the TVPRA. Plaintiff alleges that WHRI

violated 18 U.S.C. § 1591(a)(2) of the TVPRA, thereby giving rise to civil liability under 18 U.S.C.

§ 1595, based on Plaintiff’s conclusory allegation that it “knowingly benefited from participating

in a venture which [Defendants] knew was engaged in illegal sex trafficking in violation of the

TVPRA, 18 U.S.C. § 1591(a)(2).” Dkt. 1, ¶ 107. Plaintiff’s allegation is insufficient. To state a

claim under Section 1591(a)(2), a plaintiff “must plead facts suggesting that [the defendant] (i)


                                                 3
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 6 of 12 PAGEID #: 317




knowingly [benefited], (ii) from participation in a commercial sex trafficking venture, (iii) while

knowing (or in reckless disregard of the fact) that means of force, fraud or coercion would be used

to cause the trafficked person to engage in a commercial sex act.” Noble, 335 F. Supp. 3d at 523-

24 (internal quotations and citations omitted).

        The Complaint does not include any specific allegations that tie WHRI to Plaintiff’s alleged

trafficking and instead it relies on generalized allegations against all of the Defendants. Nor does

the Complaint allege facts sufficient to plausibly satisfy any of the elements to Plaintiff’s TVPRA

claim against WHRI.

        A.      The Complaint Is Impermissibly Based On Group Pleading.

        A complaint that fails to attribute specific factual allegations to a specific defendant fails

to state a claim under Rule 12(b)(6). See, e.g., Gamrat, 320 F. Supp. 3d at 942; Mhoon, 2016 WL

6250379, at *3; Zola H. v. Snyder, No. 12-14073, 2013 WL 4718343, at *7 (E.D. Mich. Sept. 3,

2013) (stating that “when [the complaint] fails to impute concrete acts to specific litigants, [it] fails

to state a plausible claim.”); United States ex rel. Takemoto v. Nationwide Mut. Ins. Co., 674 Fed.

App’x 92, 94 (2d Cir. 2017); Safari Childcare Inc. v. Penny, No. 17 C 8547, 2018 WL 4144637,

at *3 (N.D. Ill. Aug. 30, 2018); Harrison v. Wexford Health Sources Inc., No. 1:17-CV-01383-

JBM, 2018 WL 659862, at *2 (C.D. Ill. Feb. 1, 2018); Del Castillo v. PMI Holdings N. Am. Inc.,

No. 4:14-CV-3435, 2015 WL 3833447, at *6 (S.D. Tex. June 22, 2015) (noting that the

complaint’s failure to distinguish between defendants was fatal); Ingris v. Borough of Caldwell,

CIV.A. 14-855 ES, 2015 WL 3613499, at *5 (D.N.J. June 9, 2015).

        Plaintiff’s Complaint includes many generalities, but few if any pertinent and specific

allegations against WHRI. The omission is unsurprising. WHRI, the ultimate corporate parent

to the franchisor of the Days Inn® brand, does not and is not alleged to own, operate, manage, or



                                                   4
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 7 of 12 PAGEID #: 318




maintain any presence at the S&S, FHM, or KRRSH guest lodging facilities, or any other Days

Inn® guest lodging facility.     Though the Complaint includes general allegations as to the

“Defendants” collectively⎯e.g., “Defendant Hotels failed to recognize or report Plaintiff M.A.’s

trafficking . . . . Defendants failed to prevent . . . . ” (Dkt. 1, ¶ 53); “The Defendants knowingly

benefited . . . . Defendants knew that their repeated failures . . . .” Dkt. 1, ¶ 107)⎯such “group

pleadings” are improper. The Complaint does not include specific factual allegations sufficient to

plausibly suggest that WHRI actually violated the TVPRA.

        B.     The Complaint Does Not Allege That WHRI “Knowingly Benefited”
               From Participation In A “Venture” Or Knew Of The Trafficker’s Use
               Of Force or Threats.

        The Complaint fails to meet any of the requirements of a claim under TVPRA Section

1591(a)(2) as to WHRI. First, a TVPRA claim must allege that WHRI “knowingly benefited”

from Plaintiff’s trafficking. See Noble, 335 F. Supp. 3d at 523-24; 18 U.S.C. § 1591(a)(2); 18

U.S.C. § 1595(a). Such “benefits” are discussed in only a few paragraphs in the Complaint (see

Dkt. 1, ¶¶ 6, 10-18, 53, 107-108), and each only contains allegations that are conclusory,

boilerplate recitations of the TVPRA. Paragraph 108 of the Complaint is representative. It states

that “Defendants knowingly benefited financially from the presence of traffickers at their hotel

properties by consistently renting rooms where a trafficker repeatedly sold the Plaintiff for sex . .

. .” In addition to improperly relying on “group pleading,” a franchisee’s renting of rooms under

a preexisting franchise agreement does not support a reasonable inference that WHRI knowingly

benefited from the Plaintiff’s trafficking. See, e.g., Canosa v. Ziff, 18 CIV. 4115 (PAE), 2019 WL

498865, at *24 (S.D.N.Y. Jan. 28, 2019) (noting that a defendant cannot be held liable under the

TVPRA where the defendant is “ignorant” of the alleged trafficking at issue). Plaintiff has not

plausibly alleged that WHRI “knowingly benefited” for purposes of the TVPRA.



                                                 5
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 8 of 12 PAGEID #: 319




        Second, the Complaint altogether fails to allege that WHRI participated in a “venture.”

Accepting Plaintiff’s premise that prostitution and sex trafficking occur at hotels, it simply does

not follow that any entity affiliated with a hotel⎯let alone the corporate affiliate of a

franchisor⎯must be liable for resulting harm. The Sixth Circuit addressed this issue in Afyare

and foreclosed Plaintiff’s theory that a mere franchise relationship is a “venture” under the

TVPRA. In Afyare, the prosecution argued that “a ‘venture’ is any two or more people associating

for any reason, even legal or innocuous reasons and, importantly, for reasons wholly unrelated to

sex trafficking.” 632 Fed. App’x at 279 (emphasis in original). The Sixth Circuit rejected that

reading of the statute, finding instead that the term “venture,” as used in the TVPRA, means a

“sex-trafficking venture” and exists only where “[t]wo or more people [] engage in sex trafficking

together.” Id. at 286. People who associate for purposes other than trafficking, even if some subset

of those people may separately commit sex trafficking crimes, cannot constitute a “venture” under

the statute. Id. at 286; cf. United States v. Coppin, 1 Fed. App’x 283, 288 (6th Cir. 2001)

(explaining that “mere association with conspirators is not enough to establish participation in a

conspiracy”). The reasoning in Afyare applies with equal force to civil claims brought under the

TVPRA for sex trafficking. See, e.g., Noble, 335 F. Supp. 3d at 523 (applying Afyare’s holding to

civil claims brought under the TVPRA); Geiss v. Weinstein Co. Holdings LLC, No. 17 CIV. 9554

(AKH), 2019 WL 1746009, at *7 (S.D.N.Y. Apr. 18, 2019) (“The participation giving rise to the

benefit must be participation in a sex-trafficking venture, not participation in other activities . . . .”

(emphasis in original)).

        Moreover, “participation” in a “venture” requires the commission of some affirmative,

overt act in furtherance of the venture; nonfeasance or the failure to act is simply insufficient. See,

e.g., Afyare, 632 Fed. App’x at 286 (agreeing with district court that “participating in a venture”



                                                    6
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 9 of 12 PAGEID #: 320




requires “some overt act,” and that “mere negative acquiescence” is not enough); Ratha v.

Phatthana Seafood Co., Ltd., No. CV 16-4271-JFW (ASX), 2017 WL 8293174, at *4 (C.D. Cal.

Dec. 21, 2017); cf. United States v. Longoria, 569 F.2d 422, 425 (5th Cir. 1978) (“To prove

participation, there must be evidence to establish that the defendant engaged in some affirmative

conduct; that is, there must be evidence that the defendant committed an overt act designed to aid

in the success of the venture. Proof of mere negative acquiescence will not suffice.”). Construing

the TVPRA otherwise “would create a vehicle to ensnare conduct that the statute never

contemplated.” Afyare, 632 Fed. App’x at 286.

        The Complaint does not allege that WHRI participated in a “sex-trafficking venture,” and

the perceived shortcomings of the hospitality industry generally cannot amount to “participation”

in a “sex-trafficking venture.” See, e.g., Afyare, 632 Fed. App’x at 286. Similarly, nothing in the

Complaint suggests that the franchise relationships between WHRI’s corporate affiliate and S&S,

FHM, and KRRSH were entered into for unlawful purposes. Compare Ricchio v. McLean, 843

F.3d 553, 555-56 (1st Cir. 2017) (Souter, J.) (finding that plaintiff adequately alleged the existence

of a venture between a trafficker and a hotel owner—i.e., not a franchisor—because, as alleged,

the owner not only witnessed the trafficker assault the plaintiff when she tried to escape from him,

but also exchanged “high-fives” with the trafficker in the hotel parking lot, giving rise to a

reasonable inference that the hotel owner actually assented to the trafficking at the hotel).

        Third, a claim under Section 1591(a)(2) of the TVPRA requires the allegation of facts

sufficient to plausibly suggest that a defendant knew or recklessly disregarded the trafficker’s use

of force, threats of force, fraud, or coercion to cause the plaintiff to engage in commercial sex acts.

See Noble, 335 F. Supp. 3d at 523-24; 18 U.S.C. § 1591(a)(2). In this context, reckless disregard

means “to be aware of but consciously ignore facts and circumstances” indicating that the plaintiff



                                                  7
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 10 of 12 PAGEID #: 321




was engaging in commercial sex acts against her will. See, e.g., United States v. Davis, No. 2:14-

CR-20310, 2016 WL 10679065, at *8 (W.D. Tenn. Dec. 5, 2016), aff’d, 711 Fed. App’x 254 (6th

Cir. 2017); accord United States v. Wilson, No. 10-60102-CR-ZLOCH, 2010 WL 2991561, at *6

(S.D. Fla. July 27, 2010), report and recommendation adopted, No. 10-60102-CR, 2010 WL

3239211 (S.D. Fla. Aug. 16, 2010). Absent plausible factual allegations that the defendant was

actually aware of, and in fact ignored, facts indicating that the plaintiff was engaging in

commercial sex acts against her will, a TVPRA claim cannot survive. See, e.g., Florida

Abolitionist v. Backpage.com LLC, No. 617CV218ORL28TBS, 2018 WL 1587477, at *5 (M.D.

Fla. Mar. 31, 2018) (dismissing TVPRA claim where complaint did “not include a plausible

allegation that Defendants saw the ad concerning Plaintiff Doe and knew it related to

illegal sex trafficking”).

        The Complaint, however, does not allege that WHRI interacted with Plaintiff or her

trafficker, that WHRI knew of or about either the Plaintiff or her trafficker, or that WHRI knew,

should have known, or even realistically could have known that Plaintiff was being trafficked

against her will for commercial sex acts.1

V.      CONCLUSION

        The Complaint fails to state a claim under the TVPRA, and it does not offer any reasoned

basis to suggest that Plaintiff can plead any set of facts that would give rise to liability under the


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   The Complaint alleges that the staffs at the S&S, FHM, and KRRSH guest lodging facilities
“would have or should have” witnessed possible indicia of human trafficking and attempts to
impute any such knowledge to WHRI. See Dkt. 1, ¶¶ 54, 66-71. These allegations are legal
conclusions couched as facts and should be disregarded. See, e.g., Iqbal, 556 U.S. at 678. More
importantly, nothing in the TVPRA permits such imputation. As the Sixth Circuit made clear in
Afyare, a lawful relationship unrelated to sex trafficking (e.g., a franchisor-franchisee relationship)
cannot give rise to “venture” liability against a party that has not actually participated in the sex
trafficking itself. See Afyare, 632 Fed. App’x at 286 (stating that “we would require the prosecution
to prove that the defendant actually participated in a sex trafficking venture.”).

                                                  8
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 11 of 12 PAGEID #: 322




TVPRA against WHRI. Accordingly, the Complaint should be dismissed.



Dated: May 20, 2019                     Respectfully submitted,



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                                           9
10980712.1
Case: 2:19-cv-00849-ALM-EPD Doc #: 52 Filed: 05/20/19 Page: 12 of 12 PAGEID #: 323




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of May, 2019, a copy of the foregoing document

was served on all counsel of record via the Court’s electronic filing system.



                                                     /s/ Michael R. Reed
                                                     Counsel for Defendant
                                                     Wyndham Hotels & Resorts, Inc.




                                                10
10980712.1
